           Case 2:08-cr-20669-RHC-MKM ECF No. 25, PageID.41 Filed 01/12/09 Page 1 of 1
AO 472 (Rev. 6/05) Order of Detention Pending Trial

                                                  United States District Court
                                                      Eastern District of Michigan

United States of America                                 ORDER OF DETENTION PENDING TRIAL
v.
REGINALD STATOM                                   /      Case Number: 08-20669
                  Defendant

         In accordance with the Bail Reform Act, 18 U.S.C. §3142(f), a detention hearing has been held. I conclude that the following
facts require the detention of the defendant pending trial in this case.

                                                        Part I – Findings of Fact
    T     (1) I find that:
                   “ there is probable cause to believe that the defendant has committed an offense
                   T for which a maximum term of imprisonment of ten years or more is prescribed in 21 U.S.C. § 841 or 846;
                   “ under 18 U.S.C. § 924(c).

   T     (2) I further find that the defendant has not rebutted the presumption established by finding that no condition or combination
of conditions will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                         Alternative Findings
          T I find that the government has established by a preponderance of the evidence that there is a serious risk that the defendant
will not appear.

         T I find that the government has established by clear and convincing evidence that there is a serious risk that the defendant
will endanger the safety of another person or the community.

                                         Part II – Written Statement of Reasons for Detention
         T I find that the credible testimony and information submitted at the hearing established the following factors under 18
U.S.C. § 3142(g):
                  T (a) nature of the offense - Defendant is charged with conspiracy and possession with intent to distribute more than
                            500 grams of cocaine. The indictment establishes probable cause.
                  T (b) weight of the evidence - Strong evidence based upon eyewitness testimony.
                  T (c) history and characteristics of the defendant -
                            T 1) physical and mental condition - Good physical health: regular drug use (marijuana).
                            T 2) employment, financial, family ties - Employed for 15 months in past 6 hears. Has family ties.
                            T 3) criminal history and record of appearance - Three prior felonies, including 2 drug distribution
                                      offenses; 2 prior probation violations.
                  T (d) probation, parole or bond at time of the alleged offense - Defendant on supervised release on date of offense
                            charged.
                  T (e) danger to another person or community - When confronted by federal task force agents, defendant purposely
                  rammed his automobile into three government vehicles in making his escape. He also struck a civilian vehicle after
                  crossing the highway median. I view this defendant as a flight risk and a danger to the community. His prior
                  convictions and his 84 month prison sentence appear to have taught him nothing. I have no confidence that he will
                  appear for trial, since he faces a mandatory life sentence.


                                                Part III – Directions Regarding Detention
         The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
defendant to the United States Marshal for the purpose of an appearance in connection with a court proceeding.

                                                                s/Donald A. Scheer
Date: January 12, 2009                                                           Signature of Judge
                                                                Donald A. Scheer, United States Magistrate Judge
                                                                             Name and Title of Judge
